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                     EXHIBIT A
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                                                   #:6373


 1
      EXHIBIT A - SCHEDULE OF PRETRIAL AND TRIAL DATES FOR PATENT CASES
 2      Case No.:
                                2:20-cv-00169-JAK (DFMx)
 3
        Case Name:
                                Sonos, Inc. v. Google LLC
 4

 5
       Deadlines:                     Weeks After Listed            Plaintiff(s)   Defendant(s)   Court Order
 6                                    Event                         Request        Request

 7     Infringement Contentions       2 (After Order Setting
       (S.P.R. 2.1, 2.2)                                              2/10/25         2/10/25
                                      Scheduling Conference)
 8
       Early Meeting of the
                                      4 (After Order Setting
 9     Parties, Initial Disclosures
                                      Scheduling Conference)          2/24/25        2/24/25
       (S.P.R. 2.3)
10
       Joint Rule 26(f) Report        10 days (Before
11     (S.P.R. 2.3)                   Scheduling Conference
                                                                      2/21/25        2/21/25
                                      Date)
12
       Scheduling Conference          [set by Court]                                TBD
13     (S.P.R. 2.4)                                                     TBD
                                                                      by Court      by Court
14
       Last Date to Add
15     Parties/Amend Pleadings                                      6/5/25         6/5/25

16
       Invalidity Contentions         2 (After Scheduling
       (S.P.R. 2.5, 2.6)              Conference)                   4/24/25         4/24/2025
17

18     Exchange of Claim Terms        4 (After Scheduling
       (S.P.R. 3.1)                   Conference)                   5/8/25          5/8/25
19
       Exchange Proposed              6 (After Scheduling
20     Constructions and Evidence     Conference)
                                                                    5/22/25        5/22/25
       (S.P.R. 3.2)
21
       Complete Claim                 10 (After Scheduling
22     Construction Discovery         Conference)
       (S.P.R. 3.3)                                                 6/19/25          6/19/25
23
       Joint Markman Prehearing       11 (After Scheduling
24     Statement                      Conference)
       (S.P.R. 3.4)
                                                                    6/26/25        6/26/25
25
       Simultaneous Opening           12 (After Scheduling
26
       Markman Briefs                 Conference)
       (S.P.R. 3.5)                                                 7/3/25         7/3/25
27

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 1
       Simultaneously Responding       14 (After Scheduling
 2     Markman Briefs, Tutorials,      Conference)
       and Presentation Materials                                  7/17/25     7/17/25
 3     (S.P.R. 3.5)

 4     Markman Hearing                 17 (After Scheduling
       (S.P.R. 3.6)                    Conference)                 8/11/25     8/11/25
 5
       Markman Decision                [set by Court]
 6                                                                 Est:10/8/25 Est: 10/8/25
       Patentee Files Final            4 (After Markman
 7     Infringement Contentions,       Decision)
       Expert Reports on issues
 8     Where Patentee has
       Burden of Proof, All Parties                                11/5/25     11/5/25
 9     File Advice of Counsel
       Disclosures (S.P.R. 4.1,
10     4.4)
11
       Accused Infringer Files         8 (After Markman
       Final Invalidity Contentions,   Decision)
12
       Rebuttal Expert Reports,
       and Opening Expert
13                                                                 12/10/25    12/10/25
       Reports Where Accused
14     Infringer has Burden of
       Proof (S.P.R. 4.2)
15
       Patentee’s Rebuttal Expert      12 (After Markman
16     Reports on Issues Where         Decision)
       Accused Infringer has
       Burden of Proof                                             1/14/26     1/14/26
17
       (S.P.R. 4.3)
18
       Discovery Cut-Off               16 (After Markman
19     (S.P.R. 4.3)                    Decision)                   2/11/26     2/11/26

20     Last Date to File All Motions   20 (After Markman
       (S.P.R. 4.5)                    Decision)                   3/11/26     3/11/26
21

22     Note: If necessary, counsel will be invited to submit proposed dates with respect to the
       final pretrial conference and trial date upon the Court’s final ruling on all motions. The
23     trial estimate will be set at the final pretrial conference.
24
                            **CONTINUE TO NEXT PAGE FOR SETTLEMENT DATES**
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                                                         #:6375


 1
       Settlement Procedure Selection:                                     Plaintiff(s)   Defendant(s)   Court Order
 2     (ADR-12 Form will be completed by Court after                       Request        Request
       scheduling conference)
 3
       1. Magistrate Judge
 4
       2. Attorney Settlement Officer Panel                                    1              3
       3. Outside ADR/Non-Judicial (Private)
 5     Last day to conduct settlement conference or
       mediation                                                             3/20/26          3/20/26
 6
       Notice of Settlement / Joint Report re Settlement
 7     (First Friday following last day to conduct settlement                 3/27/26
       conference or mediation)
 8                                                                                           3/27/26
       Post Mediation Status Conference
 9     (10 days after due date to file notice of settlement / joint                        4/6/26
                                                                              4/6/26
       report re settlement: Mondays at 1:30 pm)
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